Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 1 of 16
,,
               Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 2 of 16

                             --          .                                             1




         conditions set forth in the Stipulation and Agreement of Settlement dated January 3 I, 2019 (the

         "'Stipulation") subject to approval of this Court (the '"Settlement");

                 WHEREAS, Lead Plaintiffs have moved, pursuant to Rule 23 of the Federal Rules of

         Civil Procedure, for an order preliminarily approving the Settlement in accordance with the

         Stipulation, certifying the Settlement Class for purposes of the Settlement only and allowing

         notice to be provided to Settlement Class Members;

                WHEREAS, the Court has read and considered: (a) Lead Plaintiffs' motion for

         preliminary approval of the Settlement and the papers filed and arguments made in connection

         therewith; and (b) the Stipulation and the exhibits attached thereto; and

                WHEREAS, unless otherwise defined herein, all capitalized words contained herein shall

         have the same meanings as they have in the Stipulation;

                        NOW THEREFORE, IT IS HEREBY ORDERED:

                 1.     Class Certification for Settlement Purposes Only - Pursuant to Rules 23(a) and

         (b)(3) of the Federal Rules of Civil Procedure, the Court certifies, solely for purposes of

         effectuating the proposed Settlement, a Settlement Class consisting of all persons and entities

         who purchased or otherwise acquired the publicly-traded common stock of Alere during the

     'r' period fr    May 9, 2013 through October 3, 2017. · elusive (the ""Class Period"). Excluded

         from the Settlement Class are Defendants, the Officers and directors of Alere at all relevant

         times, their Immediate Family Members and their legal representatives, heirs, successors or

         assigns, corporate parents and/or affiliates and any entity in which any of the above have or had a

         controlling interest. Also excluded from the Settlement Class shall be any persons or entities

         who or which elect to be excluded from the Settlement Class by submitting a request for




                                                       2
      Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 3 of 16




exclusion to the Claims Administrator by the opt-out deadline that satisfies the requirements set

forth in the Notice and that is accepted by the Court.

        2.     Class Findings - Solely for purposes of the proposed Settlement of this Action,

the Court finds that each element required for certification of the Settlement Class pursuant to

Rule 23 of the Federal Rules of Civil Procedure has been met: (a) the members of the Settlement

Class are so numerous that their joinder in the Action would be impracticable; (b) there are

questions of law and fact common to the Settlement Class which predominate over any

individual questions; (c) the claims of Lead Plaintiffs in the Action are typical of the claims of

the Settlement Class; (d) Lead Plaintiffs and Lead Counsel have and will fairly and adequately

represent and protect the interests of the Settlement Class; and (e) a class action is superior to

other available methods for the fair and efficient adjudication of the Action.

       3.      The Court hereby finds and concludes that pursuant to Rule 23 of the Federal

Rules of Civil Procedure, and for the purposes of the Settlement only, Lead Plaintiffs are

adequate class representatives and certifies them as Class Representatives for the Settlement

Class. The Court also appoints Lead Counsel as Class Counsel for the Settlement Class,

pursuant to Rule 23(g) of the Federal Rules of Civil Procedure.

       4.      Preliminary Approval of the Settlement - The Court hereby preliminarily

approves the Settlement, as embodied in the Stipulation, as being fair, reasonable and adequate

to the Settlement Class, subject to fm1her consideration at the Settlement Hearing to be

conducted as described below.



               -'J � �,
       5.      Settlement Hearing - The Court will hold a settlement hearing (the "Settlement

Hearing") on                      2019 at';;l_ :�.m. in Courtroom 19 of the John Joseph

Moakley U.S. Courthouse, I Courthouse Way, Courtroom 19, 7th Floor, Boston, Massachusetts


                                              3
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 4 of 16
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 5 of 16
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 6 of 16
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 7 of 16
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 8 of 16
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 9 of 16
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 10 of 16
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 11 of 16
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 12 of 16
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 13 of 16
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 14 of 16
Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 15 of 16
     Case 1:16-cv-10766-PBS Document 265 Filed 02/26/19 Page 16 of 16
                                  -




calendar days prior �o the Settlement Hearing; and reply papers, if any, shall be filed and served

no later than seven (7) calendar days prior to the Settlement Hearing.

       29.     Computing Time - For the avoidance of doubt, Fed. R. Civ. P. 6(a)(I) shall

apply with respect to all deadlines imposed by this order, and "calendar days" shall be construed

as Hdays" for this purpose. Rule 6(a)(I) provides:

               (I) Period Stated in Days or a Longer Unit. When the period is stated in days or a
               longer unit of time:
                      (A) exclude the day of the event that triggers the period;
                      (8) count every day, including intermediate Saturdays, Sundays, and legal
                      holidays; and
                      (C) include the last day of the period, but if the last day is a Saturday,
                      Sunday, or legal holiday, the period continues to run until the end of the
                      next day that is not a Saturday, Sunday, or legal holiday.

       30.     The Court retains jurisdiction to consider all further applications arising out of or

connected with the proposed Settlement.

       SOORDERED this           Z{Q     day of��                         ,2019.




                                             Hon. Patti B. Saris
                                             Chief United States District Judge




                                             16
